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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )        CAUSE NO. 3:12-CR-91 RM
                                         )
 LYNN LITTLE (03)                        )


                                       ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on September 13, 2012.

 Accordingly, the court ADOPTS those findings and recommendations [docket #

 175], ACCEPTS defendant Lynn Little’s plea of guilty, and FINDS the defendant

 guilty of Count 1 of the Indictment, in violation of 21 U.S.C. §§ 841 and 846 and

 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED:      October 2, 2012



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court
                                Northern District of Indiana
